                  Case 3:20-cr-00249-RS
DOCUMENTS UNDER SEAL
                                                    Document 65         Filed 08/20/21 Page 1
                                                                           TOTAL TIME (m ins):
                                                                                                of 1
                                                                                               4M
M AGISTRATE JUDGE                         DEPUTY CLERK                            REPORTER/DIGITAL RECORDING:
M INUTE ORDER                            Karen L. Hom                             Zoom Webinar: 11:00-11:04
MAGISTRATE JUDGE                          DATE                                    NEW CASE           CASE NUMBER
JOSEPH C. SPERO                          August 20, 2021                                             20-cr-0249-RS-1
                                                      APPEARANCES
DEFENDANT                                 AGE       CUST  P/NP   ATTORNEY FOR DEFENDANT                      PD.         RET.
Rowland Marcus Andrade                              N       P       Elisse Larouche, spec. appear            APPT.
U.S. ATTORNEY                             INTERPRETER                            FIN. AFFT               COUNSEL APPT'D
Andrew Dawson                                                                    SUBMITTED

PROBATION OFFICER           PRETRIAL SERVICES OFFICER               DEF ELIGIBLE FOR                PARTIAL PAYMENT
                            Sean Hamel                              APPT'D COUNSEL                  OF CJA FEES
                                        PROCEEDINGS SCHEDULED TO OCCUR
       INITIAL APPEAR              PRELIM HRG       MOTION           JUGM'T & SENTG                              STATUS
                                                                                                                 TRIAL SET
       I.D. COUNSEL                ARRAIGNMENT            BOND HEARING            IA REV PROB. or                OTHER
      continued                                                                   or S/R
       DETENTION HRG               ID / REMOV HRG         CHANGE PLEA            PROB. REVOC.                    ATTY APPT
                                                                                                                 HEARING
                                                    INITIAL APPEARANCE
        ADVISED                ADVISED                   NAME AS CHARGED            TRUE NAME:
        OF RIGHTS              OF CHARGES                IS TRUE NAME
                                                        ARRAIGNM ENT
       ARRAIGNED ON                ARRAIGNED ON             READING W AIVED             W AIVER OF INDICTMENT FILED
       INFORMATION                 INDICTMENT               SUBSTANCE
                                                        RELEASE
      RELEASED           ISSUED                     AMT OF SECURITY        SPECIAL NOTES                 PASSPORT
      ON O/R             APPEARANCE BOND            $                                                    SURRENDERED
                                                                                                         DATE:
PROPERTY TO BE POSTED                            CORPORATE SECURITY                   REAL PROPERTY:
    CASH    $


      MOTION           PRETRIAL               DETAINED          RELEASED       DETENTION HEARING                  REMANDED
      FOR              SERVICES                                                AND FORMAL FINDINGS                TO CUSTODY
      DETENTION        REPORT                                                  W AIVED
ORDER REMOVED TO THE DISTRICT OF
                                                            PLEA
   CONSENT                    NOT GUILTY                   GUILTY                  GUILTY TO COUNTS:
   ENTERED
   PRESENTENCE                CHANGE OF PLEA               PLEA AGREEMENT          OTHER:
   REPORT ORDERED                                          FILED

                                  I.D. Counsel          CONTINUANCE
TO:                               ATTY APPT                BOND                  STATUS RE:
09/03/2021                        HEARING                  HEARING               CONSENT                     TRIAL SET

AT:                               SUBMIT FINAN.            PRELIMINARY           CHANGE OF                  STATUS
                                  AFFIDAVIT                HEARING               PLEA                 to set ex-parte hrg on Fin. Aff
10:30 AM                                                   _____________                              re: contribution of CJA fees.
BEFORE HON.                       DETENTION                ARRAIGNMENT            MOTIONS                    JUDGMENT &
                                  HEARING                                                                    SENTENCING
Judge Kim
        TIME W AIVED              TIME EXCLUDABLE          IDENTITY /            PRETRIAL                    PROB/SUP REV.
                                  UNDER 18 § USC           REMOVAL               CONFERENCE                  HEARING
                                  3161                     HEARING
                                                 ADDITIONAL PROCEEDINGS
Defendant consents to proceed by Zoom. Time excluded from 8/20/2021-9/3/2021. AUSA will contact Judge Seeborg's clerk to
seek a continuance of the 8/31 hearing date.
cc: ML, CL
                                                                                       DOCUMENT NUMBER:
